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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

MIAMI DIVISION

In Re: Chapter 11
C.S.C. ENTERPRISES, INC., d/b/a Case No.: 21-11549-RAM
SCULLY’S TAVERN,

Debtor.

/

C.S.C. ENTERPRISES, INC. d/b/a
SCULLY’S TAVERN,

Plaintiff, Adv. Case No.
V.

EQUTIY ONE (FLORIDA PORTFOLIO), LLC.,

Defendant.

VERIFIED COMPLAINT FOR TEMPORARY INJUNCTION

Plaintiff (“Debtor”), by and through undersigned counsel, files and serves this complaint

for temporary injunction to enjoin collection activities against Chris Hirsh and Cassandra Hirsh

(“Non-Debtors”), the owners and officers of Debtor, while it attempts reorganize and states as

follows:

JURISDICTION

1. This Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 157 and 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper in this District

pursuant to 28 U.S.C. § 1408.

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BACKGROUND
On February 17, 2021 (the “Petition Date”), the Debtor filed its voluntary petition for relief
under Chapter 11, subchapter V, title 11, United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”).
The Debtor is operating its business and managing its affairs as debtor in possession.
No trustee, or examiner or committee has been appointed n this Chapter 11 case except the
Chapter V Trustee Tarek Kirk Kiem.
Pre-petition, Debtor operated its business for over 32 years through the joint efforts of the
Non-Debtors (also referred to as “Cassandra” and “Chris”), a married couple. Non-Debtors
have always split the managerial and operating chores of the Business.
On September 19, 2020, Cassandra sustained severe injuries from a fall. After surgery, she
became paralyzed and confined to a wheelchair. Cassandra’s rehabilitative care is
substantial and ongoing.
As a result, Cassandra has severely limited ability to participate in the affairs of the
Business.
Additionally, Chris has to take time away from the business to take Cassandra to daily
therapy sessions. This has also reduced the time that Chris has to take care of the business.
Debtor has been severely affected by the Covid pandemic in that the restaurant/sports bar
has been required to close for a substantial period of time and or only operate at reduced
capacity levels and for reduced times due to government-imposed restrictions and curfew.
The restrictions have started to ease. The business has started to pick up again in spite of
some restrictions that are still in effect (i.e., curfew). This increase in business is a blessing

for the business but has made further demands on the limited time of Non-Debtors.

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During this period of time, Debtor has made partial payments of rent but has accrued a
substantial amount of past due rent. Negotiations with the Defendant-Landlord broke down
without a mutually agreeable repayment plan for the past due rent.
As aresult, the Defendant-Landlord filed an eviction/damages action in state court against
Debtor and Non-Debtors as guarantors on the lease obligations.
Debtor filed its petition for relief to resolve the pending rent claim and to reorganize and
continue operations.
The filing of the petition has stayed the state court case against Debtor but the Defendant-
Landlord continues to aggressively pursue the case against Non-Debtors.
Specifically, the Defendant in this action filed onerous discovery requests which were the
same for all three of the Defendants in the state court action, which includes documents
and responses which are specifically directed to the Debtor. While the Automatic Stay
should preclude this discovery in the state court eviction proceeding, the Defendant has
sought sanctions against the Non-Debtors for failing to respond to that discovery.
The undersigned attorneys have conferred with both state court and bankruptcy counsel for
the Defendant-Landlord to agree to a stay of the state action to no avail and state court
counsel insists on proceeding with a hearing on the motion for sanctions.

REQUESTED RELIEF AND BASIS THEREFOR
Plaintiff-Debtor sues Defendant and creditors, seeking a temporary injunction against
Defendant from prosecution of cases against Chris Hirsh and Cassandra Hirsh while Debtor
is attempting to reorganize and settle their claims.

Chris Hirsh and Cassandra Hirsh are the owners and officers of Debtor.

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Debtor owns and has been operating a tavern at 9809 SW 72nd Street, Space #1, Miami,
Florida 33173 (the “Leased Premises”) for more than 30 years. Defendant and Debtor are
respectively Landlord and Tenant under a lease agreement (the “Lease”).

On November 19, 2020, Landlord filed an eviction action against Debtor in Circuit Court
in Miami-Dade County, Case No. 2020-024897-CA-01 (the “Eviction case”).

In the same Eviction Case, Defendant also asserted claims against Non-debtors for Breach
of Guaranty.

Additionally, the Landlord filed discovery requests against the Debtor and the Non-Debtors
in the Eviction case. The discovery directed to the Non-Debtors requested the identical
information from Debtor, which unequivocally seeks information from the Debtor.

The settlement or disposition of the Eviction Case will have a profound effect on this
Chapter 11 case and could result in payment or settlement of claims in the plan of
reorganization.

Both Non-Debtors are key persons and as such should be protected against the lawsuit in
the Eviction case in order to enable them to devote full time and energy to the affairs of the
debtor, especially at the initial stage of the proceeding and in formulating a plan of
reorganization.

Both Non-Debtors earn income and own assets which may be used as a source to fund the
plan, and the preservation of their income and assets can play a significant and meaningful
role in the Debtor’s attempt to achieve reorganization.

Section 105(a) of Title 11 provides: “The court may issue any order, process, or judgment
that is necessary or appropriate to carry out the provisions of this title.” This section also

empowers the Bankruptcy Court, under the appropriate circumstances, to grant an

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injunction to protect non-debtors associated with a debtor entity from collection activities
of creditors. See Minnelusa Co. v. Andrikopoulos (In re Minnelusa Co.), 169 B.R. 225, 226
(Bankr, M.D. Fla. 1994).

In grating an injunction for the purpose stated, the court must consider: (a) a strong
probability of success on the merits; (b) irreparable injury to the movant if the relief sought
is not granted; (c) granting injunctive relief will not cause substantial harm to the party
against whom the injunctive relief is granted; and (d) the public interest will be best served
by issuing the preliminary injunction. Jn re Minnelusa Co., 169 B.R. at 226; In re Otero
Mills, Inc., 25 B.R. 1018, 1021 (D.N.M. 1982). Public interest in the bankruptcy setting
refers to the promotion of successful reorganization. See In re Otero Mills, Inc., 25 B.R. at
1021.

There are two instances when a temporary injunction should be granted: (a) when a non-
debtor principal of the debtor is the key person and should be temporarily protected against
lawsuits to devote full time and energy to the affairs of the debtor, especially at the initial
stage; and (b) the non-debtor’s assets can be used as a source to fund the plan, “either
through sale of the asset or when the preservation of his credit standing and his ability to
borrow played a significant and meaningful role in a debtor's attempt to achieve
reorganization.” Jn re Minnelusa Co., 169 B.R. at 226 (citing St Petersburg Hotel

Associates, Ltd, 37 Bankr. 380 (Bankr. M.D. Fla. 1984)).

. Injunctive relief would be proper until the necessary financing to fund the plan of

reorganization was secured. Jd.
A strict exercise of the four traditional requirements for an injunction is unnecessary, “[A]

bankruptcy court can enjoin proceedings in other courts when it is satisfied that such

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proceedings would defeat or impair its jurisdiction over the case before it. In other words,

the court does not need to demonstrate an inadequate remedy at law or irreparable harm.”
Fisher v. Apostolou, 155 F.3d 876, 882 (7th Cir. 1998) (citing In re L&S Industries, Inc.,
989 F.2d 929, 932 (7th Cir. 1993)).

31. Bankruptcy Rule 7065, Injunctions, states Fed. R. Civ. P. 65 applies in adversary
proceedings, except that a temporary restraining order or preliminary injunction may be
issued on application of a debtor, trustee, or debtor in possession without compliance with

Rule 65(c).

COUNT I
TEMPORARY INJUNCTION

32. Plaintiff incorporates the allegations of paragraphs 1-31 above.
33. A temporary injunction is necessary and appropriate in this case because:

a. There is a strong probability that that Debtor will succeed in reorganization;

b. Debtor will suffer irreparable harm if suit against the Non-Debtors is not enjoined
because they are both key persons in Debtor’s reorganization efforts; and whose
assets will fund the plan;

c. Granting this injunctive relief will not cause substantial harm to Defendant because
one main goal of Debtor’s reorganization concerns payment to Defendant under the
Lease;

d. This injunctive relief will promote aublic interest—effective reorganization.

WHEREFORE, Plaintiff respectfully requests that a temporary injunction enjoining all
collection activities by Defendant against the Non-Debtors on the guarantees until Debtor has had

the opportunity to proceed with reorganization, including obtaining financing to fund the plan.

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UNITED STATES BANKRUPTCY COURT
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MIAMI DIVISION

In Re: Chapter 11
C.S.C. ENTERPRISES, INC., d/b/a Case No.: 21-11549-RAM
SCULLY’S TAVERN,

Debtor.

C.S.C. ENTERPRISES, INC. d/b/a
SCULLY’S TAVERN,

Plaintiff, Adv. Case No.

Vv.
EQUTIY ONE (FLORIDA PORTFOLIO), LLC.,

Defendant.

VERIFICATION
VERIFIED COMPLAINT FOR TEMPORARY INJUNCTION

Chris Hirsh, pursuant to 28 U.S.C. § 1746, says:

I am the Owner and President of Debtor and has been authorized to sign all papers and

deliver all testimony required in this Chapter 11 case.

I have personal knowledge of the facts and allegations contained in the Verified Complaint
for Temporary Injunction, the Verified Expedited Motion for Temporary Restraining Order and
Preliminary Injunction, both are filed herewith, and am authorized by the Debtor to verify that

they are true and correct, and so verify under penalty of perjury.

Signed
CS, E HRPRI ES, INC. d/b/a SCULLY’S TAVERN

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CHRISHIRSH, President

 
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I hereby certify that on April 7, 2021, a true and correct copy of the foregoing was served
upon all parties, unless said party is a registered CM/ECF participant who has consented to
electronic notice, and the notice of the electronic filing indicates that notice was electronically

mailed to said party.

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